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Proposed Counsel for Debtor

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

Tn re: Case No, 18-75807
BIG APPLE ENERGY, LLC, Chapter 11

Debtor.

 

 

DEBTOR’S AFFIDAVIT PURSUANT TO E.D.N.Y. LBR 1007-4

Big Apple Energy, LLC, debtor/debtor-in-possession, (the “Debtor”), in accordance with
E.D.N.Y. LBR 1007-4, hereby files its Affidavit, as follows:

1. The Debtor is not a small business debtor within the meaning of 11 U.S.C. § 101(d).

2. The Debtor is in the business of selling wholesale customers gas and electric
energy. The Debtor also finances the purchases of wholesale gas and electric energy to some of
its customers, and to independent third-party wholesale gas and electric providers. The Debtor
provides back office services for small to medium size companies serving the deregulated energy
market. The Debtor provides various logistical services for energy service companies (“ESCO”)
who supply natural gas or electricity purchased from parties other than their local utility. The
Debtor is one supplier of energy to the ESCO’s in the deregulated market.

3. The Debtor’s Chapter 11 bankruptcy proceeding was commenced on an emergent
basis as a result of the acceleration by Macquarie Bank Limited (“Macquarie”), the Debtor’s

primary secured creditor, of the Debtor’s outstanding indebtedness of approximately $20,800,000,
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10. The location of the Debtor’s books and records is its office premises at 100
Crossways Park Drive West, Suite 405, Woodbury, NY 11797.

11. The Debtor holds no assets outside the territorial limits of the United States.

12, While there was no formal action or proceeding pending against the Debtor prior
to the commencement of the bankruptcy case, absent its Chapter 11 bankruptcy filing, its assets
were subject to collection by Macquarie on account of Macquarie’s alleged secured claim.
Moreover, the Debtor requires additional financing on an emergent basis and despite good faith
efforts to find another financial source, only Marcquarie is willing to lend and only pursuant to a
debtor-in-possession facility approved by the Court.

13.  Debtor’s senior existing management consists of Victor Ferreira, the manager of
BAE Energy Management, LLC, the sole member of the Debtor, who has been involved in the
wholesale sale and financing of utility purchases for approximately the last 22 years.

14. Weekly payroll to the employees of the Debtor is approximately $30,287, and is
paid every two weeks. Thus, anticipated payroll, exclusive of the manager of the Debtor’s sole
member, for the thirty (30) day period following the commencement of the Chapter 11 case is
anticipated to be $121,148.

15. Victor Ferreira in his capacity as manager of the sole member of the Debtor receives
no compensation, for his services on behalf of the Debtor.

16. A schedule of estimated cash receipts and disbursements is anticipated to be
provided in connection with Debtor’s DIP financing application.

[signatures to follow]

 
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STATE OF NEW YORK +)
) ss:
COUNTY OF NASSAU }
VICTOR FERREIRA, being duly sworn according to law, upon his oath, deposes and
says:
] am the managing member of BAE Energy Management, LLC which the sole member of

the Debtor. The foregoing Affidavit and the statements contained therein are true according to

the best of my knowledge, information and belief.

VICTOR FERREIRA

Subscribed and sworn to before
me this 7] _" day of August, 2018.

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NOTARY PUBLIC OF NEW YORE

CHRISTINE DELERME
Notary Public, State of New York
No, 01DE6156082 - Aésery County
Term Expires November 27, 20/7

 
